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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

NIKE, INC and CONVERSE, INC.,

Plaintiffs, Case No. 13 Civ. 8012
v.

Maria WU et al.

Defendants.

 

 

Declaration of Li Zeng
Bank of China

I, Li Zeng, declare as follows:

1, I currently hold the position of Assistant Manager at Bank of China (“BOC”),
which is a nonparty to this proceeding. I work for the Internal Control, Legal and Compliance
Department of the Head Office. I have knowledge of the matters described in this declaration.

2. I submit this declaration in support of BOC and the other Nonparty Banks’
objection to Magistrate Judge Freeman’s September 11, 2018 Memorandum and Order on the
Nonparty Banks’ Motion to Quash the Subpoenas and Modify the Final Order and Plaintiff-
Assignee, Next Investments, LLC (Assignee’s), Cross-motion to Compel.

3. BOC has operated as a financial institution in China and around the world for
almost 100 years. It values its own brand and reputation and has no interest in assisting
counterfeiters of luxury goods who are seeking to infringe upon the trademarks of renowned
brands such as Nike and Converse (corporations with whom the bank generally seeks to do
business).

4. In the declaration submitted by BOC in support of the Nonparty Banks’ Motion

to Quash the Subpoenas and Modify the Final Order, dated April 27, 2018, BOC explained that

 
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it could not disclose documents and information relating to Judgment Debtor accounts located
in China in response to Assignee’s subpoena, or restrain these accounts, because such
disclosure or restraint without authorization by the Chinese government would violate China’s
banking laws. China’s Commercial Bank Law and banking regulations, as codified by the
People’s Bank of China and the China Banking Insurance Regulatory Commission, require
such disclosure or restraint to be directed by a Chinese judicial department or a competent
governmental organ as identified in the applicable laws and regulations.

5. I submit this declaration to explain that BOC has undertaken certain internal
control measures, nonetheless, to address the problems relating to counterfeiting identified by
Assignee in its subpoena and in its other submissions to this Court. BOC has undertaken these
measures in a manner consistent with Chinese law. Such measures include:

a. Heightening the risk designation for the Judgment Debtor deposit account
holders identified in Attachment B to the subpoenas, so that these customers
cannot apply for new personal loans or credit cards and cross-border
transactions involving them will be intercepted (unless approved on a case-by-
case basis).

b. Placing the Judgment Debtor deposit account holders identified in Attachment
B to the subpoena issued to BOC on the bank’s “watch list.” As a result of this
“watch list” designation, the identified Judgment Debtors cannot establish new
customer relationship at the bank and cross-border transactions involving the
Judgment Debtors will be intercepted (unless approved on a case-by-case basis).

c. BOC has also added these Judgment Debtors to the BOC’s real time monitoring
list. Once any transactions involving these identified Judgment Debtors are
initiated, reports of suspicious cases will be generated automatically for further

examination.
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6. BOC is willing to cooperate with the Assignee to take additional measures to
combat further acts of counterfeiting by the Judgment Debtors, so long as these measures
comply with Chinese law. Such measures include the production of documents and
information relating to the Judgment Debtors pursuant to an application submitted under the
Hague Convention on the Taking of Evidence Abroad in Civil and Commercial Matters, should

the Court permit discovery through this means.

I hereby declare under penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Executed this _/¢ day of October, 2018, Beijing, China.

Ree Zi Z ery
Li Zeng J

 
